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              IN THE UNITED STATES DISTRICT COURT FOR
                 THE SOUTHERN DISTRICT OF GEORGIA
                         AUGUSTA DIVISION

UNITED STATES OF AMERICA

V   .                                     CASE NO. CR106-O9

VINCENT SAVAGEAU,

        Defendant.

                                                                         <c
                                                                   CD
                                  ORDER

        Before    the     Court    is    Defendant's     Motion     for

Reconsideration. (Doc. 169.) After careful consideration of

the record in this case, the Court sees no reason to

reconsider its prior order. (Doc. 168.) Accordingly,

Defendant's motion is DENIED.

        SO ORDERED this            day of September 2016.




                                     WILLIAM T. MOORE, JR.
                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF GEORGIA
